











Opinion Issued March 11, 2004 















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;





In The
Court of Appeals
For The
First District of Texas




NO. 01-02-00929-CV




SCOTTSDALE INSURANCE COMPANY AND MARKET FINDERS
INSURANCE CORPORATION, Appellants

V.

NATIONAL EMERGENCY SERVICES, INC.; NES HOLDINGS, INC.; NES
GOVERNMENT HEALTHCARE SERVICES, INC.; NATIONAL
EMERGENCY SERVICES WEST, INC.; EMSCO MANAGEMENT
SERVICES, INC.; NES ALABAMA, INC.; NES ARIZONA, INC.; NES
ARKANSAS, INC.; NATIONAL EMERGENCY SERVICES CALIFORNIA,
INC. D/B/A NES CALIFORNIA, INC.; NATIONAL EMERGENCY
SERVICES DISTRICT OF COLUMBIA, INC. D/B/A NES DISTRICT OF
COLUMBIA, INC.; NES OF FLORIDA, INC.; NES GEORGIA, INC.
NATIONAL EMERGENCY SERVICES IDAHO, INC. D/B/A NES IDAHO,
INC.; NES ILLINOIS, INC.; NES INDIANA, INC.; NES IOWA, INC.; NES
KENTUCKY, INC.; NES LOUISIANA, INC.; NATIONAL EMERGENCY
SERVICES MAINE, INC.; NES MICHIGAN, INC.; NES MINNESOTA,
INC.; NES MISSISSIPPI, INC.; NES MISSOURI, INC.; NES NEW JERSEY,
INC.; NES NEW MEXICO, INC.; NES NEW YORK, INC.; NATIONAL
EMERGENCY SERVICES NORTH CAROLINA, INC. D/B/A NES NORTH
CAROLINA, INC.; NES OHIO, INC.; NES OREGON, INC.; NES
TENNESSEE, INC.; NES VIRGINIA, INC.; NES WASHINGTON, INC.;
NATIONAL EMERGENCY SERVICES WEST VIRGINIA, INC. D/B/A
NES WEST VIRGINIA, INC.; NES WISCONSIN, INC.; CP/NATIONAL,
INC.; NES GOVERNMENTAL SERVICES, INC.; GARFIELD
EMERGENCY MEDICAL GROUP, INC.; COMMUNITY EMERGENCY
PHYSICIANS, INC.; WHITAKER NATIONAL CORPORATION; NES
MEDICAL SERVICES, INC.; LAKES/NATIONAL EMERGENCY
PHYSICIANS, INC.; GLOBAL HEALTHCARE SERVICES, INC.;
PHYSICIAN ONE MEDICAL MANAGEMENT, INC.; NATIONAL
MEDICAL SERVICES OF NEW YORK, P.C.; NES MEDICAL SERVICES
OF NEW YORK, P.C.; NES MEDICAL GROUP OF TEXAS, P.A.; NES
MEDICAL SERVICES OF NORTHERN CONNECTICUT, P.C.; NES
MEDICAL SERVICES OF STATEN ISLAND, P.C.; NATIONAL
EMERGENCY SERVICES OF KENTUCKY, P.S.C.; AND NES
INTERNATIONAL, INC., Appellees




On Appeal from the 234th District Court
Harris County, Texas
Trial Court Cause No. 0100033




O P I N I O N 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Plaintiff/insured National Emergency Services, Incorporated, on behalf of itself
and several affiliates (collectively NES), recovered a judgment against
defendant/insurer Scottsdale Insurance Company (Scottsdale) and its general agent,
Market Finders Insurance Corporation (Market Finders), based on jury findings that
both defendants engaged in unfair or deceptive acts or practices in violation of article
21.21 of the Texas Insurance Code.  The jury also found against Scottsdale for breach
of contract and for breach of the duty of good faith and fair dealing.  NES elected to
recover on its statutory claim under the Insurance Code.  On appeal, both Scottsdale
and Market Finders challenge the trial court’s application of Texas law to NES’s
claims and the trial court’s exclusion of their exhibits 117, 120, and 121, which
pertained to their pass-on damages defense that, because NES’s insured physicians
would be the ultimate bearers of the increased premium, either NES was not damaged
or its recovery should be reduced.  Scottsdale additionally complains that the trial
court improperly excluded its exhibit 71, a page of notes written by a Healthcare
Insurance Services (HIS) employee with an attached Virginia statute, which sets forth
an opinion about the applicability of Virginia law.  Finally, Scottsdale challenges the
sufficiency of the evidence to support the jury’s actual damages award.  We affirm.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;National Emergency Services, Inc. is a corporation existing under Illinois law
with its principal place of business in California.  National Emergency Services’ 
affiliates and subsidiaries conduct business in most of the 50 states, including Texas
and Virginia.  Each affiliate and subsidiary has a different state of incorporation. 
NES contracts with hospitals and clinics to provide physicians and other healthcare
professional staff to emergency rooms and other healthcare facilities.  The physicians
and other healthcare professionals who are paid by NES are independent contractors,
and NES provides them with medical liability insurance.  No hospital allows a
physician to treat a patient unless the physician carries sufficient malpractice
insurance; therefore, NES provides each NES staffed doctor with a certificate
evidencing that the physician carries insurance.  Healthcare Insurance Services, Inc.,
a Houston, Texas insurance agency, is NES’s broker/agent in obtaining the
physicians’ malpractice insurance.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In September 1999, HIS began working to secure malpractice insurance for
NES after learning that NES’s then-current insurer had decided to exit the malpractice
insurance business.  HIS transmitted an insurance package to Market Finders.  Market
Finders was a Louisville, Kentucky-based insurance broker/agent for Scottsdale
Insurance Company.  Scottsdale is a surplus lines carrier incorporated in Ohio with
its principal place of business in Scottsdale, Arizona.  As the agent for Scottsdale,
Market Finders wanted to write the coverage for HIS and NES.  From its Houston,
Texas office, HIS transmitted to Market Finders a Proposal of Insurance to cover NES
and its contract healthcare professionals for the year 2000.  On December 22, 1999,
Market Finders initialed the Proposal, stamped it approved, and faxed it back to HIS
in Houston.  The Proposal contained the terms of the offer, including the policy
period from December 31, 1999 to December 31, 2000, and the specified premium
of $3,071,400.  The Proposal lists the named insureds as “National Emergency
Services, Inc. and NES Healthcare Services, Inc., aka NES Holdings, Inc., affiliates
and subsidiary companies, 6477 College Park Square, Suite 316, Virginia Beach, VA
23461.” 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On December 22, 1999, HIS faxed the Proposal to NES’s outside counsel,
Sanford Pomerantz, in Missouri.  Pomerantz proposed some changes to the Proposal,
which HIS made and sent back.  After receiving the revised HIS Proposal, Pomerantz
sent it to Allan Rappaport, NES’s President, in California.  Rappaport signed the
Proposal and returned it to Pomerantz, who in turn faxed it to HIS in Houston.  On
December 27, 1999, Market Finders initialed the Proposal in Kentucky, stamped it
approved, and sent the final Proposal to HIS in Houston.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On the same day, Market Finders sent the underwriting package to Scottsdale
in Arizona.  In reviewing the risks, Scottsdale determined that it wanted a $3,300,000
premium, approximately $300,000 more than the agreement between Market Finders
and NES/HIS.  Unaware of the premium dispute, the next day, after receiving the two
approvals based on the $3 million premium (one from Rappaport on behalf of NES
and one from Watts on behalf of Market Finders), and thus documentation that the
insurer had been bound, HIS began sending the “Certificates of Liability Insurance”
to each of its locations where NES provided emergency room physicians. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February 25, 2000, Market Finders, with Scottsdale’s approval, issued a
notice of cancellation of the insurance for nonpayment of premium.  However, NES
had already paid the premium in full to HIS by January 31, 2000; and HIS, in turn,
had remitted it to Scottsdale.  Scottsdale thus rescinded the cancellation on March 10,
2000.  Four days later, Market Finders, again with Scottsdale’s approval, issued a
second cancellation notice, citing underwriting reasons and increased exposure as the
basis.  NES claimed that the second cancellation lacked any reasonable basis, was in
bad faith, and breached the contract for coverage through December 31, 2000. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;NES had to quickly find replacement insurance coverage.  When it did find
replacement coverage, the coverage was approximately $600,000 more expensive
than Scottsdale’s.  Rather than replacing the Scottsdale coverage with another
insurance company’s, NES had to enter into contracts with four different insurers.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;NES filed suit against Market Finders and Scottsdale alleging (1) breach of the
common law duty of good faith and fair dealing; (2) violations of the Texas Insurance
Code, including unfair or deceptive acts or practices; (3) breach of contract; and (4)
fraud.  NES claimed that Scottsdale and Market Finders falsely promised to ensure
NES for a full year at the premium price set forth in the Proposal, falsely cancelled
the insurance guaranteed by the Proposal without a reasonable basis, misrepresented
the reason for the first cancellation as being for nonpayment of the premium, and
misrepresented that the second cancellation was because of increased  risk.  All the
claims arose out of or in relation to the Proposal entered into by NES and Scottsdale
through their agents HIS and Market Finders respectively.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A jury found in favor of NES and against Scottsdale by finding that Scottsdale
breached its duty of good faith and fair dealing, the Insurance Code, and its contract
with NES.   The jury also found that Market Finders violated the Insurance Code by
engaging in unfair or deceptive acts or practices.  NES elected to recover against both
defendants on its Insurance Code claim.  With respect to NES’s Insurance Code
claim, the jury awarded and NES recovered $642,585 in damages as the cost of
replacement insurance. The judgment was rendered accordingly. 
Discussion
Choice of Law 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In their first issue, Scottsdale and Market Finders argue that the trial court erred
in applying Texas, rather than Virginia, law to NES’s claims.


  Scottsdale argues that
the parties chose to apply Virginia law, and that, even in the absence of a valid choice
of law provision in the Proposal or policy, Virginia law should still apply based on
section 188 of the Restatement (Second) of Conflict of Laws, which governs choice
of law for contracts in the absence of an express agreement.  Market Finders does not
argue that a choice of law provision controls, but argues instead that section 148 of
the Restatement (Second) of Conflicts of Laws, governing choice of law for torts in
the absence of an express agreement, controls, and that, under section 148, Virginia
has the most significant relationship with NES’s unfair or deceptive acts or practices
claim, thereby warranting the application of Virginia law.  NES contends that article
21.42 of the Texas Insurance Code requires that Texas law apply and that, if article
21.42 does not apply, sections 145 and 188 of the Restatement (Second) of Conflict
of Laws, governing choice of law for contract and tort actions, mandate that Texas
law apply.  Market Finders argues that article 21.42 of the Texas Insurance Code does
not apply.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Which state’s law governs an issue is a question of law for the Court to decide.
Torrington Co. v. Stutzman, 46 S.W.3d 829, 848 (Tex. 2000).  Therefore, we must
review the trial court’s decision to apply Texas law in this case de novo.  See
Minnesota Mining &amp; Mfg. Co. v. Nishika Ltd., &nbsp;955 S.W.2d 853, 856 (Tex. 1996).
Absent a choice of law provision, determining the state contacts to be considered by
the court in making this legal determination involves a factual inquiry.  Hughes Wood
Prods., Inc. v. Wagner, 18 S.W.3d 202, 204 (Tex. 2000).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Except when a contract with a valid choice of law clause applies, Texas courts
apply the substantive law of the state with the most significant relationship to the
particular dispute at issue.  Duncan v. Cessna Aircraft Co., 665 S.W.2d 414, 421
(Tex. 1984); see also Restatement (Second) of Conflict of Laws §§ 6, 145, 188
(1971).  Thus, unless the court finds that a valid choice of law clause governs all
claims, it must evaluate each of the significant relationship factors in light of the
substantive issues presented in the case.  Duncan, 665 S.W.2d at 421.  The
substantive issues determine which factors we must consider in determining which
State has the most significant relationship.  Id.  Texas law may apply to some claims,
but not other claims.  See, e.g., Snyder Gen. Corp. v. Great Am. Ins. Co., 928 F. Supp
674, 678 (N.D. Tex. 1996).  In a choice of law analysis, the number of contacts with
a state is not determinative.  Duncan, 665 S.W.2d at 421.  Rather, we must evaluate
the contacts in light of the state policies underlying the particular substantive issue. 
Id.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Choice of Law Clause
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Scottsdale contends that the Proposal and the policy issued pursuant to it both
contain provisions which manifest the intent of the parties that Virginia law apply to
disputes such as this one.  Scottsdale first addresses the Proposal, claiming that the
designation of the first Named Insured, the NES office in Virginia Beach, as “the sole
agent for all insureds as respects policy terms and claims settlement” evinces the
intent of the parties that Virginia law apply.  Although Scottsdale twice misidentifies
the Virginia Beach, Virginia office of NES as “the ‘Named Insured,’” it is merely the
first Named Insured.  The Named Insureds include “National Emergency Services,
Inc. and NES Healthcare Services, Inc., aka NES Holdings, Inc., affiliates and
subsidiary companies.”  We find that the designation of one of the Named Insureds
as agent for the others with respect to policy terms and claims settlement is far too
slender a reed to support Scottsdale’s claim that NES and Scottsdale intended that
Virginia law apply.  Nor can the policy evince the intent of the parties that Virginia
law apply; since the terms of the policy were never accepted by NES, the policy’s
terms cannot be indicative of NES’s intent.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To hold that a Virginia choice of law provision governs this dispute, we must
find either an express or an implied choice of law provision in the Proposal.  There
is no express choice of law clause in the Proposal pursuant to which NES’s claims are
brought.  Nor does the contract itself, despite lacking an express choice of law
provision, lend itself to the conclusion that the law of a particular state applies, as
required to imply a choice of law provision.  See Restatement (Second) of
Conflict of Laws § 187 cmt. (a)..  There are no provisions in the Proposal which
indicate that the parties wished to have the law of a particular state apply; nor does
the Proposal contain legal expressions or make reference to legal doctrines that are
peculiar to the local law of a particular state.  Id.  We hold, therefore, that the
Proposal does not manifest the intent of the parties that Virginia law apply. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Market Finders does not even intimate that Virginia law should apply based on
a choice of law provisions but rather focuses on the significant relationship test,
which is used if there is no choice of law provision that provides otherwise.  We
therefore turn to the most significant relationship test.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Most Significant Relationship Test 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The substantive issues at trial were whether Scottsdale and Market Finders
committed a deceptive act or practice in misrepresenting the terms and benefits of the
insurance contract (the Proposal), and whether Scottsdale’s cancellation of the policy
issued pursuant to the Proposal, thereby cancelling the insurance contract
memorialized in the Proposal, violated its duty of good faith and fair dealing and
constituted a breach of contract. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We begin our analysis with section 6 of the Restatement (Second) Conflict of
Laws.  Section 6(1)  provides that: “A court, subject to constitutional restrictions, will
follow a statutory directive of its own state on choice of law.” Restatement
(Second) of Conflict of Laws §6.  Thus, the first step under section 6 of the
Restatement is to determine whether a statutory directive of the forum state on choice
of law applies.  Id.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Statutory Directive
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;NES argues that the Texas Legislature has mandated that Texas law apply
because article 21.42 of the Insurance Code provides a choice of law rule.  Article
21.42 states, 
Any contract of insurance payable to any citizen or inhabitant of
this State by any insurance company or corporation doing business
within this State shall be held to be a contract made and entered into
under and by virtue of  the laws of this State relating to insurance, and
governed thereby, notwithstanding such policy or contract of insurance
may provide that the contract was executed and the premiums and policy
(in case it becomes a demand) should be payable without this State, or
at the home office of the company or corporation issuing the same.
Tex. Ins. Code Ann. art. 21.42 (Vernon 2003).  For article 21.42 to apply, therefore,
the contract of insurance must satisfy three requirements: (1) the insurance proceeds
must be payable to a citizen or inhabitant of Texas; (2) the policy issued pursuant to
the contract must be issued by a company doing business in Texas; and (3) the policy
must be issued in the course of the insurance company’s Texas business.  Hefner v.
Republic Indem. Co. of Am., 773 F.Supp. 11, 13 (S.D. Tex. 1991).  Article 21.42 has
been interpreted narrowly to avoid giving “extraterritorial effect” to its terms.  See
Austin Bldg. Co. v. Nat’l Union Fire Ins. Co., 432 S.W.2d 697, 701 (Tex. 1968);
Howell v. Am. Live Stock Ins. Co., 483 F.2d 1354, 1359 (5th Cir. 1973). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, NES, the entity to whom the insurance proceeds were payable, is
registered under the laws of Illinois and has its principal place of business in
California; the premium out of which the dispute arises was paid by NES to HIS in
Houston, Texas, which remitted it to Scottsdale in Arizona.  Therefore, under the
plain language of article 21.42, the first requirement for the applicability of Texas
law—that the entity to whom the insurance proceeds are payable be a Texas
citizen—is not satisfied; nor is it relevant that the premium was to be paid to a Texas
inhabitant, HIS, for transmittal to the home office of Scottsdale in Arizona. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is simply not enough for the application of article 21.42 that one of the
Named Insureds is a Texas resident.  In this regard, we find the facts to be similar to
those in TV-3, Inc. v. Royal Insurance Company of America, 28 F. Supp.2d 407, 417
(1998).  In that case, the plaintiff, TV-3, was a Mississippi corporation that operated
two television stations in Texas; the defendant issuer Royal, although an Illinois
corporation, conducted business in all 50 states, including Texas; and the defendant
issuer Globe was a Delaware corporation regularly conducting business in Texas.  Id.
at 409-10.  The plaintiff, TV-3, argued that article 21.42 operated as a statutory
directive that Texas law apply.  Id. at 415.  The court held that the plaintiff’s
operation of television stations in Texas did not fulfill the requirements of article
21.42.  Id.&nbsp;at 417.  It observed, “This, in fact, is exactly the sort of ‘extraterritorial
effect’ proscribed by Austin Building Company.” Id.&nbsp;at 417 (citing Austin Bldg. Co.,
432 S.W.2d at 701 (rejecting the application of Texas law to an insurance coverage
dispute involving a fire insurance policy written in Kansas on Kansas property, even
though Texas resident was one of insureds)); see also Hefner, 773 F.Supp. at 13
(article 21.42 did not require application of Texas law to suit by third party
beneficiary of insurance contract made and signed in California and payable  to
California resident when third party beneficiary was injured in Texas).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because the statutory requirements cannot be established, we hold that article
21.42 is inapplicable.  As no statutory directive exists, we must turn to the relevant
factors of the Restatement (Second) of Conflict of Laws to determine which law
applies.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Restatement, Section 6—General Factors  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Section 6(2) of the Restatement provides a list of general factors relevant to the
choice of the applicable rule of law: 
When there is no [statutory] directive, the factors
relevant to the choice of the applicable rule of law include 
(a) the needs of the interstate and international
systems, 
(b) the relevant policies of the forum, 
(c) the relevant policies of other interested states and
the relative interests of those states in the determination of
the particular issue, 
(d) the protection of justified expectations, 
(e) the basic policies underlying the particular field
of law, 
(f) certainty, predictability, and uniformity of result,
and 
(g) ease in the determination and application of the
law to be applied.  

Restatement (Second) of Conflict of Laws § 6.  More particularized factors are
found in relevant sections of the Restatement depending on whether the action
involves claims in tort or contract.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Restatement, Sections 188, 145, &amp; 148
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Scottsdale argues that Virginia law applies on the basis of the factors listed in
section 188 of the Restatement, which pertains to contract actions.  Market Finders
argues that because NES’s unfair or deceptive acts or practices claim is based on
alleged misrepresentations, this Court should use the factors listed in section 148 of
the Restatement for the particular torts of fraud and misrepresentation.  In its brief,
NES notes that the claims here sound in both contract and in tort and argues,
therefore, that the court should consider the factors both in section 188 (contract) and
in section 145 (general torts) of the Restatement.  We agree with NES. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Contract Claims
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As to the contract claim at issue in the present case, the relevant factors under
section 188 include (a) the place of contracting, (b) the place of negotiation of the
contract, (c) the place of performance, (d) the location of the subject matter of the
contract, and (e) the domicile, residence, nationality, place of incorporation and place
of business of the parties.  Restatement (Second) of Conflict of Laws § 188.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applying these factors to the present case, we find that the application of Texas
law to the contract issues in this case was proper.  Here, the central location for the
contract formation, negotiation, and cancellation was in Texas.  The Proposal was
created by HIS in Texas and sent from Texas to Market Finders in Kentucky; after
signatures were obtained from both Dr. Rappaport in California and Market Finders
in Kentucky, the Proposal was sent back to HIS in Texas.  HIS, located in Texas, was
more than a mere conduit; rather, HIS served as the agent for both parties.


 Cf. Hull
v. Chandler, 889 S.W.2d 513 (Tex. App.—Houston [14th Dist.] 1994, writ denied)
(one Texas agent’s performance under a policy issued in another state was an attempt
to convert one contact into multiple contacts).  Furthermore, the premiums were paid
by NES to HIS in Texas and from HIS in Texas to Market Finders and Scottsdale. 
HIS was the central nexus for all of the parties’ communications and actions.  The
parties performed in Kentucky (Market Finders), Texas (where NES paid the
premiums), and all the states where physicians were located, including both Virginia
and Texas (where Scottsdale provided insurance).  Neither Scottsdale, Market
Finders, nor NES is incorporated or has its principal place of business in Virginia or
Texas; and the insurance policy covered locations both in Virginia and Texas.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In contrast to the numerous Texas contacts, there are only a few factors
relevant to Virginia regarding the contract.  First, although the NES office located in
Virginia Beach, Virginia is listed as the first Named Insured on the Proposal, the
Named Insureds, including NES’s affiliates and subsidiary companies, were located
in numerous states.  NES also paid its surplus lines tax to Virginia.  However,
testimony from Rappaport and Galtney, the president of HIS, revealed that Virginia
was selected for the surplus tax lines only because NES has one major office there
and Virginia has a low percentage rate for the surplus lines tax.  Rappaport testified
that NES contracted with four Texas facilities and 10 to 12 Virginia facilities. 
However, it is not the number of contacts with a particular state that is determinative,
but the qualitative nature of the particular contacts insofar as they implicate important
state policies underlying the particular substantive issue.  Duncan, 665 S.W.2d at 421. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Texas also has a significant interest in the relevant substantive issues which
favors the application of Texas law.  The action was filed in Texas; and only Texas,
not Virginia, recognizes a statutory claim for unfair or deceptive acts or practices in
insurance in the Texas “Unfair Competition and Unfair Practices” Act.  Tex. Ins.
Code Ann. art. 21.21.  The express purpose of the Act is “to regulate trade practices
in the business of insurance by defining, or providing for the determination of all such
practices in this state which constitute unfair methods of competition or unfair or
deceptive acts or practices and by prohibiting the trade practices so defined or
determined.”  Id. § 1(a).  The regulation of deceptive acts of practices in insurance is
thus an integral part of Texas’s regulation of the insurance business.  Were we to
agree that insurers can evade the application of Texas law by selecting as named
insurer the only one of many insureds, including Texas residents, that is incorporated
in a state that lacks the protection afforded by the Texas Insurance Code, we would
be thwarting the express policy of the Texas legislature.  Texas’s interest in violations
of its insurance laws could only be furthered by application of Texas law to this case.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applying the guiding principles of the most significant relationship test to the
facts of this case, we conclude that the decision to apply Texas law to NES’s contract
claims was appropriate. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Tort Claims
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As to the tort claims present in this case, Market Finders argues we should
follow section 148 of the Restatement, which applies to the particular torts of fraud
and misrepresentation.  NES, on the other hand, briefs this issue according to section
145 of the Restatement, which lists the factors used in determining which state has
the most significant relationship as to general tort claims.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Restatement factors set out in section 145 for general torts are very similar
to those listed in section 148 for fraud and misrepresentations.  The  relevant factors
under section 145 include (a) the place where the injury occurred; (b) the place where
the conduct causing the injury occurred; (c) the domicile, residence, nationality, place
of incorporation and place of business of the parties; and (d) the place where the
relationship, if any, between the parties is centered.  Restatement (Second) of
Conflict of Laws § 145.  The factors under section 148 include (a) the place where
the plaintiff acted in reliance upon the defendant’s representations; (b) the place
where the plaintiff received the representations; (c) the place where the defendant
made the representations; (d) the domicile, residence, nationality, place of
incorporation and place of business of the parties; (e) the place where a tangible thing
which is the subject of the transaction between the parties was situated at the time;
and (f) the place where the plaintiff is to render performance under a contract which
he has been inducted to enter by the false representations of the defendant. 
Restatement (Second) of Conflict of Laws § 148. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In dealing with claims of violations of article 21.21 of the Insurance Code
(unfair or deceptive acts or practices), other courts have applied the factors found in
the general tort provision of the Restatement (section 145) rather than the
Restatement’s tort section applicable to the particular tort of fraud and
misrepresentation (section 148).   See Nat’l W. Life Ins. Co. v. Rowe, 86 S.W.3d 285,
300 (Tex. App.—Austin 2002, pet. filed); TV-3, 28 F.Supp.2d at 417.  Although we
shall do the same, our analysis reveals that either tort section requires the application
of Texas law. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The injury resulting from the unfair and deceptive acts of Scottsdale and
Market Finders not only impacted NES at its principal place of business in California,
it also impacted residents or inhabitants of every state in which NES affiliates or
subsidiaries and their insured physicians were located.  The conduct that caused the
injury resulting in the need for replacement coverage occurred in Kentucy and
Arizona, the locations of Market Finders and Scottsdale respectively.  The place of
incorporation and place of business of the parties does not mandate the application
of any particular state’s law.  Factor (d) of section 145—the place where the
relationship between the parties is centered—does, however, urge application of
Texas law.  Although the parties are nationally located, the focus of the relationship
was in Texas, with HIS acting as the agent for all the parties involved.  Furthermore,
although the two cancellation notices were received by NES’s Virginia office, the
deceptive conduct at issue is not limited to the wrongful cancellation, but also
includes deceptive conduct made in the course of contract formation and the wrongful
demand for additional premiums, much of which occurred in Texas, not Virginia.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, Texas has a significant interest in the regulation of deceptive insurance
acts and practices.  Comment (e) of section 6 of the Restatement pronounces that “if
the purposes sought to be achieved by a local statute or common law rule would be
furthered by its application to out-of-state facts, this is a weighty reason why such
application should be made.” Restatement (Second) of Conflict of Laws § 6
cmt. (e).  The purposes sought to be achieved by the deceptive acts or practices
provisions in the Texas Insurance Code are plainly furthered by application of Texas
law. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In viewing the relevant facts in their entirety, and in light of their impact on the
policy factors set out in section 6 of the Restatement, the application of Texas law to
all claims was appropriate.  We conclude that the trial court correctly applied Texas
law to NES’s claims.  Scottsdale’s and Market Finders’s first issue is overruled.
Excluding Exhibits
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Standard of Review 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We apply an abuse of discretion standard to the question of whether a trial
court erred in an evidentiary ruling.  Owens Corning Fiberglas Corp. v. Malone, 972
S.W.2d 35, 43 (Tex. 1998).  The admission or exclusion of evidence is a matter
within the trial court’s discretion. City of Brownsville v. Alvarado, 897 S.W.2d 750,
753 (Tex. 1995).  A trial court abuses its discretion when it rules without regard for
any guiding rules or principles. Owens Corning, 972 S.W.2d at 43.  We must uphold
the trial court’s ruling if there is any legitimate basis for its ruling.  Id.  If the
evidentiary ruling is erroneous, we will not reverse the ruling unless the error
probably caused the rendition of an improper judgment. Id.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Exclusion of Exhibit 71 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In its issue 2(a), Scottsdale contends the trial court erred in refusing to admit
into evidence its exhibit 71, “an admission by NES’s General Counsel that the policy
was properly cancelled under Virginia law.”  Scottsdale sought to introduce this
evidence to demonstrate that, prior to filing its lawsuit, NES believed Virginia law
would be applicable.  The evidence consisted of a summary of a discussion between
Crys Blankenship, an HIS employee, and Sandy Pomerantz, an NES attorney, in
which Scottsdale claims “Pomerantz admitted that under Virginia law, the
cancellation was proper.”  Attached to the summary notes are four pages of a Virginia
statute.  Scottsdale argues that this exhibit establishes that NES believed Virginia law
applied to the dispute with NES.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During the pre-trial motions hearing, the court reviewed the parties’ motions
in limine, exhibits, and deposition excerpts.  When defendant’s exhibit 71 was
reached, NES objected on relevancy and hearsay grounds, and claimed that the copy
of the statute should not go to the jury as a matter of law.  The court sustained NES’s
objection and refused to admit the exhibit.  On the third day of trial, outside the
presence of the jury, the court revisited the issue of admitting or excluding
defendant’s exhibit 71.  NES objected on three grounds: (1) the document was
hearsay; (2) it expressed an opinion on Virginia law from a non-expert on the subject;
and (3) the probative value of any admission was substantially outweighed by the
unfair prejudice that would be caused by giving the jury an exhibit pertaining to
Virginia law.   The court noted:
I’ll hear what [Crys Blankenship] says.  But if her
testimony is that Sandy Pomerantz advised her that
Scottsdale was within legal boundaries, because under
Virginia law there’s no bad faith, then, I’m going to sustain
an objection on the grounds including–I mean, I already
made a determination that Texas law is going to apply to
bad faith.  So, I think that would be confusing and
misleading to the jury. . . .
&nbsp;
. . . 
&nbsp;
I’ll sustain the objection to everything behind Page 1 of
Exhibit 71.  Then, I’ll hear the objections after we do the
voir dire.

After hearing testimony from Crys Blankenship, NES reurged its objections to the
admission of exhibit 71.  The court again sustained NES’s objection.  On appeal,
Scottsdale claims that the trial court’s exclusion of this exhibit was error because the
evidence (1) was an admission by a party-opponent; (2) was a business record and
therefore an exception to the hearsay rule; and (3) should have been admitted not for
the truth of the matter, but to establish that plaintiffs believed that Virginia law
applied. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court noted when sustaining NES’s objection to the evidence that the
admission of the evidence would be confusing and misleading for the jury,
particularly because the court had already concluded that Texas law applied and the
exhibit introduced evidence concerning Virginia law and its applicability.  As
previously noted, the admission or exclusion of evidence is a matter within the trial
court’s discretion; we will, therefore, not disturb a trial court’s evidentiary ruling if
there is a legitimate basis for it.  See City of Brownsville, 897 S.W.2d at 753; Owens
Corning, 972 S.W.2d at 43.  We conclude that there was a legitimate basis for the
trial court’s exclusion of the evidence—that which the trial court expressly noted, that
the probative value of the evidence is substantially outweighed by the danger of
confusion of the issues, or misleading the jury.  See Tex. R. Evid. 403.


  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Which law governs is not a matter of the parties’ beliefs, but a question of law
for the court.  See Torrington Co., 46 S.W.3d at 848.  Here, the court had already
made a legal determination that Texas law would apply to the case.  Introducing
Virginia law into the case, for whatever reason, would have been likely to lead the
jury away from the factual issues in the case, i.e., those within its province, and would
have introduced evidence to which the jury might have improperly attached weight
in making its liability determinations.  We hold that the trial court did not abuse its
discretion in excluding the defendants’ exhibit 71.  We overrule Scottsdale’s issue
2(a).    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Exclusion of Pass-On Defense Exhibits
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Scottsdale’s issue 2(a) and Market Finder’s issue two both claim that the trial
court erred in improperly excluding exhibits 117, 120, and 121, which related to
defendants’ “pass-on” damages defense.  The defendants’ pass-on damages defense
claimed that NES’s contracted physicians bore the entire cost of their professional
liability insurance and therefore NES did not suffer any damages.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Prior to trial, NES filed a motion to exclude the testimony of defendants’
proposed expert, David A. Hile, on the topic of the pass-on of damages.  The trial
court granted the motion to exclude with respect to the pass-on theory and noted that
it would be treated as a motion in limine rather than as a motion to exclude. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During trial, Scottsdale and Market Finders made an offer of proof on the pass-on damages defense.  They had intended to offer Exhibits 117, 120, and 121 for such
purposes.  Exhibit 117 is a letter from a hospital requesting documentation from NES
regarding its increased malpractice insurance.  Exhibits 120 and 121 are financial
statements of NES which note that NES’s physicians pay for any increased premiums
and that the entire cost of the professional liability policy is the responsibility of the
physicians.  Also included in the offer of proof were several expert deposition
transcripts pertaining to the pass-on theory.  NES objected to the testimony and
exhibits pertaining to the pass-on defense:
The problem with the pass-on defense is that the only
parties to the proposal of insurance are National
Emergency Services and its affiliated entities and the
defendants Scottsdale, Market Finders.
&nbsp;
The idea that [NES] could pass on damages to a third party
is irrelevant.
&nbsp;
. . .
&nbsp;
Finally, the idea that we could pass on charges is unduly
burdensome–excuse me, unfairly prejudicial.  What we’re
looking at here are damages to the plaintiffs and not
looking to try and figure out what gets passed on to parties
that aren’t a piece of this litigation. 

The trial court sustained the objection, and Scottsdale and Market Finders made an 
offer of proof relating to the evidence they believed would tend to show that the
damages, if any, suffered by NES were passed on to the physicians. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Scottsdale and Market Finders argue that, since NES can pass on the cost of
replacement coverage to the physicians, NES suffered no damage.  However, in
Trammel’s Lubbock Bail Bonds v. Lubbock County, 60 S.W.3d 145 (Tex.
App.—Amarillo 2001, aff’d in part and rev’d in part on other grounds,&nbsp;80 S.W.3d
580 (Tex. 2002)), the Amarillo Court of Appeals rejected this argument and the pass-on defense for reasons equally applicable to the present case.  Trammel’s brought suit
against the County to recoup “bond service charge” fees collected by the County. 
The County argued that because Trammel’s had passed this fee on to its bail bond
clients, ultimately Trammel’s suffered no damages.  In rejecting this argument, the
court stated: 
This is little more than asserting that one compensated for
a wrong from a source unrelated to the supposed tortfeasor
should not be able to recover anything from the tortfeasor. 
When viewed in those terms, the contention violates the
collateral source rule.   The latter precludes a tortfeasor
from reaping the benefit of a payment conferred upon the
injured party from sources other than the tortfeasor.  Jones
v. Red Arrow Heavy Hauling, Inc., 816 S.W.2d 134, 136
(Tex. App.—Beaumont 1991, writ denied). 
Id. at 153.


  Likewise, the Texas Supreme Court refused to implement the pass-on
defense when it had the opportunity to do so.  Abbott Laboratories Inc. v. Segura, 907
S.W.2d 503 (Tex. 1995) (refusing to recognize the pass-on defense, inter alia,
because of the “morass which would ensue in determining who among all the
potential plaintiffs actually absorbed part of the cost passed on, and, therefore, is
entitled to reimbursement”).  We likewise decline to reject the collateral source rule
and to recognize the pass-on defense.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, only NES is responsible for recovering the increased costs associated
with the replacement coverage from the physicians.  Neither Scottsdale nor Market
Finders was in privity with the source of the potential payment.  It was the decision
of NES whether or not to seek the increased amount of coverage from the physicians. 
Thus, while it may be true that NES can pass on such increased costs, there is nothing
in the record, including the offer of proof, to indicate that NES did or will do so; and,
even if it did pass on its costs, the payment would be procured from a source
independent of Scottsdale and Market Finders.  We will not hold that a tortfeasor can
avoid paying for his torts because the victim may independently recover his loss
elsewhere through his own efforts. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, admission of the evidence proffered in support of appellants’ pass-on
damages defense would be unfairly prejudicial.  Tex. R. Evid. 403.  Knowledge that
NES may ultimately increase the physicians’ cost of insurance to cover its own
increased costs of insurance “would have undoubtedly drawn the jury’s attention from
its task of making [the liability determination] and allocating appropriate damages.” 
Lee Wright, Inc., v. Hall, 840 S.W.2d 572, 582 (Tex. App.—Houston [1st Dist.] 1992,
no pet.).  Therefore, evidence that NES’s physicians might bear the cost of the
insurance premiums was properly excluded by the trial court.  We overrule
Scottsdale’s issue 2(a), and Market Finders’ issue two. 
Insufficient Evidence to Support Damages 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In its third issue, Scottsdale claims there was insufficient evidence to support
the jury’s findings regarding NES’s damages.  We construe Scottsdale’s argument to
be a challenge to the legal sufficiency of the evidence supporting the damage award.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In conducting a legal sufficiency review, we consider all the evidence in the
light most favorable to the prevailing party.  Lee Lewis Constr., Inc. v. Harrison, 70
S.W.3d 778, 782 (Tex. 2001).  We indulge every reasonable inference in that party’s
favor and disregard all evidence and inferences to the contrary.  Assoc. Indem. Corp.
v CAT Contracting, Inc., 964 S.W.2d 276, 285-86 (Tex. 1998).  When, as here, the
complaining party challenges the legal sufficiency of the evidence underlying an
adverse finding on which he did not have the burden of proof, the party must
demonstrate on appeal that there is no evidence to support the finding.  Croucher v.
Croucher, 660 S.W.2d 55, 58 (Tex. 1983).  If more than a scintilla of evidence
supports the finding, the no-evidence challenge fails and the finding is legally
sufficient. Lee Lewis Constr., 70 S.W.3d at 782; Formosa Plastics Corp. USA. v.
Presidio Engineers &amp; Contractors, Inc., 960 S.W.2d 41, 48 (Tex. 1998).  More than
a scintilla of evidence exists if the evidence furnishes some reasonable basis for
differing conclusions by reasonable minds about a vital fact’s existence.  Lee Lewis
Constr., 70 S.W.3d at 782.  In resolving legal sufficiency of the evidence to support
damages, a jury’s finding will be upheld if it is within the range of the testimony
regarding the amount of damages incurred.  State Farm Fire &amp; Cas. Co. v. Rodriguez,
88 S.W.3d 313, 321 (Tex. App.—San Antonio 2002, pet. denied); Duggan v.
Marshall, 7 S.W.3d 888, 893 (Tex. App.—Houston [1st Dist.] 1999, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, Scottsdale argues that there was insufficient evidence to support NES’s
claim that the insurance purchased to replace the cancelled Scottsdale policy was
substantially similar to the cancelled coverage.  However, the charge submitted to the
jury did not require that the insurance purchased to replace the cancelled Scottsdale
policy be substantially similar.  Without any objection from Scottsdale or Market
Finders, the charge instructed the jury to award damages, if any, for the following:
“(a) the reasonable and necessary increase in insurance premium cost, if any, for NES
to purchase replacement insurance coverage for the period June 17, 2000, to
December 31, 2000.”  We review the sufficiency of the evidence based on the charge
as submitted, not as it should have been, in the absence of objection or requested
instruction. Osterberg v. Peca, 12 S.W.3d 31, 55 (Tex. 2000); City of Fort Worth v.
Zimlich, 29 S.W.3d 62, 71 (Tex. 2000). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During trial, NES presented testimony from William Galtney, an HIS
representative, about the increased cost of replacement coverage.  Galtney testified
that the replacement coverage was approximately $642,585 more expensive than the
original insurance.  The jury awarded NES $642, 585 as the reasonable and necessary
increase in insurance costs for NES to purchase replacement insurance coverage. 
Because the jury’s award was within the range of the testimony regarding the amount
of damages incurred, we uphold the jury’s finding.  See State Farm Fire, 88 S.W.3d
at 321.  We hold that the evidence was legally sufficient to support NES’s damage
claim for purchasing replacement insurance coverage.  We overrule Scottsdale’s third
issue. Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the judgment. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Evelyn V. Keyes
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice
Panel consists of Justices Taft, Nuchia, and Keyes.
Publish.  Tex. R. App. P. 47.4.
&nbsp;


